UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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LOUIS VUITTON MALLETIER S.A.,
Plaintiff, : 13 Civ, 5242 (LAP)
-V- : OPINION & ORDER
SUNNY MERCHANDISE CORP. a/b/a SUNNY :
SUNGLASSES et al.,
Defendants. :
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LORETTA A. PRESKA, Chief United States District Judge:

Louis Vuitton Malletier S.A. (“Louis Vuitton”) brings this suit against Sunny
Merchandise Corp. (“Sunny”), Louis Valentin Eyewear, and Sunny’s founder and president,
Chin Zong Tsai (“Gene Tsai” or “Tsai”), asserting various federal and state trademark claims.
Louis Vuitton challenges Sunny’s use of the marks “LOUIS VALENTIN” and “LOUIS*V” on
its sunglasses, as well as Sunny’s use of several designs that Louis Vuitton believes are
confusingly similar to its Damier, LV, and Flower Marks. Before the Court are cross-motions
for partial summary judgment and three motions by Defendants to exclude Plaintiffs experts.
Additionally, Defendants have submitted a list of evidentiary objections to Plaintiffs motion for
partial summary judgment, Plaintiff has objected to the “additional facts” that Defendants
included in their response to Plaintiff's Rule 56.1 statement, and both parties have requested
redactions.

For the reasons stated below, Plaintiff's motion for partial summary judgment ts
GRANTED with respect to its trademark infringement claims and DENIED with respect to its

counterfeiting claims. Defendants’ motion for partial summary judgment is DENIED with
respect to Louis Vuitton’s counterfeiting claims but GRANTED with respect to Louis Vuitton’s

claims against Gene Tsai. Both Plaintiff's and Defendants’ objections associated with their

motions for partial summary judgment are DENIED. In addition, Defendants’ motion to exclude

the testimony of proposed branding and marketing expert Seth Matlins is GRANTED in part and

DENIED in part, while their other motions to exclude Plaintiff’s experts are DENIED. Lastly,

both parties’ requests for redactions are GRANTED in part and DENIED in part.
BACKGROUND

The following facts, drawn from the admissible materials submitted by the parties, are
undisputed except where noted. See Vermont Teddy Bear Co., Inc. v. 1-800 Beargram Co., 373
F.3d 241, 244 (2d Cir, 2004). Louis Vuitton is a “global luxury brand company” that
manufactures a variety of products, including sunglasses. (Statement Undisputed Facts Pursuant
Fed. R. Local Rule 56.1 (“P1.’s Rule 56.1 Statement”) (Docket No, 49) fj 1, 3). The company
owns several federal trademark registrations. As relevant here, these registrations include the
Louis Vuitton Mark, the LV Mark, the Damier Marks,' and the Flower Marks. (P1.’s Rule 56.1
Statement § 6). All of Louis Vuitton’s sunglasses feature the Louis Vuitton mark, and the other
marks appear on certain styles. (Pl.’s Rule 56.1 Statement {] 24).

Sunny, which was founded by Gene Tsai and his wife, imports and sells inexpensive
sunglasses made in China. (P1.’s Rule 56.1 Statement J 82). Tsai is Sunny’s president and until
2012 was, along with his wife, its sole shareholder, although Defendants contend that he has not
been involved in the management of the company since 2003, when he had a heart attack. (PI.’s
Rule 56.1 Statement {{f 88-89; Defs.’ Response P!.’s Statement Undisputed Facts Pursuant Fed,

R. Local Rule 56.1 (“Defs.’ Counter-Statement”) (Docket No. 87) § 89; Defs.’ Rule 56.1

 

The Damier Mark registrations do not cover sunglasses. (PI.’s Rule 56.1 Statement { 6).
Statement Material Facts (“Defs.’ Rule 56.1 Statement”) (Docket No. 56) 4-5). In 2009, Sunny
began selling sunglasses with the marks LOUIS VALENTIN and LOUIS*V, which were
“inspired by” Louis Vuitton. (PI.’s Rule 56.1 Statement {ff 29-30; Decl. Michael J. Allan
(“Allan Deel.”) (Docket No. 53) Ex. 13 at 152:9). Although Sunny is a California company and
was founded in 1978, some of Sunny’s sunglasses feature the words “Paris,” “Est. 1941,” or
both. (Pi.’s Rule 56.1 Statement 4 33, 35, 82). Further, several third-party companies that sell
LOUIS*V and LOUIS VALENTIN products use phrases such as “compare to Louis Vuitton”
(Pl.’s Rule 56.1 Statement {] 46) or incorporate Louis Vuitton’s marks in their advertising of
Sunny’s products (PI.’s Rule 56.1 Statement {| 47).

Louis Vuitton filed this action on July 26, 2013, alleging various Lanham Act claims
(Compl. (Docket No. 1) {] 43-68), as well as associated state law claims (Compl. fff 69-81). It
filed a motion for partial summary judgment on August 4, 2014, arguing that it was entitled to
judgment as a matter of law against Sunny and Tsai on its counterfeiting claims and against
Sunny on its federal trademark infringement and false designation of origin claims, as well as its
state law trademark infringement and unfair competition claims. (Docket No, 47). On the same
day, Defendants filed a cross motion for partial summary judgment as to all of Louis Vuitton’s
counterfeiting claims and its claims against Tsai. (Docket No. 52). Defendants also seek to
exclude the reports and testimony of Plaintiff’s three proposed experts, (Docket Nos. 99, 103,

106).
DISCUSSION
A. Cross-Motions for Summary Judgment

Summary judgment is appropriate where the admissible evidence and the pleadings
demonstrate “no genuine dispute as to any material fact and the movant ts entitled to judgment as
a matter of law.” Fed. R. Civ. P. 56(a). A dispute over an issue of material fact qualifies as
genuine if the “evidence is such that a reasonable jury could return a verdict for the nonmoving
party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); accord Roe v. City of
Waterbury, 542 F.3d 31, 35 (2d Cir. 2008). The moving party bears the initial burden of
demonstrating the absence of a genuine issue of material fact. See Celotex Corp. v. Catrett, 477
U.S. 317, 325 (1986). “in moving for summary judgment against a party who will bear the
ultimate burden of proof at trial, the movant’s burden will be satisfied if he can point to an
absence of evidence to support an essential element of the nonmoving party’s claim.” Goenaga
v. March of Dimes Birth Defects Found., 51 F.3d 14, 18 (2d Ctr. 1995) (citing Celotex, 477 U.S.
at 322~23); accord PepsiCo, Ine. v. Coca-Cola Co., 315 F.3d 101, 105 (2d Cir. 2002).

In ruling on a motion for summary judgment, all evidence must be viewed “in the light
most favorable to the non-moving party,” Overton v. N_Y. State Div. of Military & Naval Affairs,
373 F.3d 83, 89 (2d Cir. 2004), and the court must “resolve all ambiguities and draw all
permissible factual inferences in favor of the party against whom summary judgment is sought,”
See. Ins. Co. of Hartford v. Old Dominion Freight Line, Inc., 391 F.3d 77, 83 (2d Cir. 2004). To
defeat a motion for summary judgment, the non-moving party must advance more than a
“scintilla of evidence,” Anderson, 477 U.S. at 252, and demonstrate more than “some
metaphysical doubt as to the material facts,” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986). The non-moving party “cannot defeat the motion by relying on
the allegations in [its] pleading or on conclusory statements, or on mere assertions that affidavits
supporting the motion are not credible.” Gottlieb v. Cnty. of Orange, 84 F.3d 511, 518 (2d Cir.
1996) (citation omitted). Affidavits submitted in support of or in opposition to summary
judgment must be based on personal knowledge, must “set forth such facts as would be
admissible in evidence,” and must show “that the affiant is competent to testify to the matters
stated therein.” Patterson v. Cnty. of Oneida, 375 F.3d 206, 219 (2d Cir. 2004).

i Louis Vuitton’s Motion for Summary Judgment on Trademark Infringement

Louis Vuitton argues that Sunny is liable for trademark infringement as a matter of law
with regard to Sunny’s LOUIS VALENTIN and LOUIS*V marks. To prevail on a trademark
infringement claim brought under the Lanham Act, a plaintiff must show both that its mark is
entitled to protection and that “defendant’s use of the mark is likely to cause consumers
confusion as to the origin or sponsorship of the defendant’s goods.” Virgin Enters. Ltd. v.
Nawab, 335 F.3d 141, 146 (2d Cir. 2003); see also Gruner + Jahr USA Publ’g v. Meredith
Corp., 991 F.2d 1072, 1074 (2d Cir. 1983). Here, only the second factor — likelihood of
confusion —- is in dispute. Further, “[t]hough likelihood of confusion is frequently a fairly
disputed issue of fact... the issue ts amenable to summary judgment in appropriate cases.”
Warner Bros, Inc. v. Am. Broad. Cos., 720 F.2d 231, 246 (2d Cir, 1983).

In the Second Circuit, courts generally consider the nonexclustve list of factors outlined
by Judge Friendly in Polaroid Corp. v. Polaroid Electronics Corp., 287 F.2d 392 (2d Cir. 1961),
in deciding whether a likelihood of confusion exists. These factors are: “(1) the strength of the
plaintiff's mark; (2) the degree of similarity between the two marks; (3) the competitive
proximity of the products or services; (4) the existence of actual confusion; (5) the likelihood

that the plaintiff will ‘bridge the gap’ between the two markets; (6) the defendant’s good faith in
adopting its mark; (7) the quality of the defendant's product; and (8) the sophistication of the
purchasers.” Mobil Oil Corp. v. Pegasus Petroleum Corp., 818 F.2d 254, 256-57 (2d Cir. 1987)
(quoting Polaroid, 287 F.2d at 495); see also NYP Holdings v. N.Y. Post Pub’g Inc., No. 14-CV-
8310 (VM), 2014 WL 6603989, at *6 (S.D.N.Y. Nov. 17, 2014). The likelihood of confusion
inquiry, however, “is not a mechanical process where the party with the greatest number of
factors weighing in its favor wins.” Vox Amplification Ltd. v. Meussdarffer, No. 13-CV-4922
(ADS) (GRB), — F.Supp.3d —, 2014 WL 4829578, at *14 (E.D.N.Y. Sept. 29, 2014) (internal
quotation marks omitted). Instead, “a court should focus on the ultimate question of whether
consumers are likely to be confused.” Nabisco, Inc. v. Warner-Lambert Co., 220 F.3d 43, 46 (2d
Cir, 2000),

Here, most of the individual Polaroid factors support Louis Vuitton’s position. When
viewed holistically in light of the ultimate question of confusion, the analysis comes out even
more strongly in favor of granting Louis Vuitton’s partial motion for summary judgment on its
infringement claims. See, e.g., The Sports Authority, Inc. v. Prime Hospitality Corp., 89 F.3d
955, 960 (2d Cir. 1996) (finding that summary judgment based on a likelihood of confusion
under the Polaroid analysis “is appropriate where the undisputed evidence would lead only to
one conclusion.”). Of particular importance to the Court in reaching this conclusion ts the
strength of Louis Vuitton’s mark, the likelihood of confusion due to the apparent similarity
between the two marks, and, underlying all this, Sunny’s apparent bad faith in adopting the
LOUIS VALENTIN and LOUIS*V marks. Summary judgment in favor of Louis Vuitton is
appropriate on the strength of these factors alone. Moreover, other factors, including the degree
of similarity between the two marks, the competitive proximity of the products or services, and

the likelihood that Louis Vuitton will “bridge the gap,” also favor Louis Vuitton. The Court
views the remaining factors as relatively neutral and of lesser consequence to its finding of
infringement in light of the strength of the factors above.

Perhaps of greatest importance in finding infringement is the strength of Plaintiff's mark.
As courts tn this District have recognized, Louis Vuitton clearly has a famous mark, and the
strength of that mark “increases the likelihood of consumer confusion.” Virgin Enters, Ltd., 335
F.3d at 148; see, e.g., Louis Vuitton Malletier, S.A. v. Hyundai Motor Am., No. 10-CV-1611
(PKC), 2012 WL 1022247, at *7 (S.D.N.Y. Mar, 22, 2012) (finding that Louis Vuitton’s marks
are “entitled to a high degree of protection”), (Mem. Law Supp. Pl.’s Mot. Partial Summary
Judgment (“Pl.’s Mem. Supp. P1.’s MSJ’) (Docket No.48) 16). Defendants argue that, even if
Louis Vuitton’s mark is generally famous, Plaintiff has not submitted any evidence showing that
its mark is strong with regard to sunglasses. Defendants, however, do not cite a single case
suggesting that Louis Vuitton must provide such evidence. Cf Hyundai Motor Am, 2012 WL
1022247 (finding Louis Vuitton’s mark to be famous when used in an automobile advertisement
even “assuming that the sales volume and public awareness of Louis Vuitton’s sports- and auto-
related products in the United States are limited to a niche market”). Louis Vuitton has
introduced evidence that it is the world’s most valuable luxury brand — evidence that
Defendants do not contradict —- and that eyewear is the company’s fastest growing segment.
(PI.’s Rule 56.1 Statement {ff 18, 22). The first Polaroid factor therefore weighs heavily in
Louis Vuitton’s favor.

The degree of similarity between Louis Vuitton’s and Sunny’s marks, the second factor,
also supports a finding of infringement. The overlap between Louis Vuitton’s LOUIS
VUITTON mark and Sunny’s LOUIS VALENTIN mark is obvious. From a technical

standpoint, both Louis Vuitton and Louis Valentin begin with the word “Louis,” the first and last
letters of the second word in both marks are the same, and both marks feature French-sounding
names. Sunny itself has confirmed as much, admitting that the LOUIS VALENTIN brand is
“inspired by” Louis Vuitton and that the name was chosen because it is “elegant” and “sound|s]
French.” (PI.’s Rule 56.1 Statement 4] 30; Allan Decl., Ex. 13 at 268:1-17). Indeed, no higher
authority than the United States Patent and Trademark Office concluded that LOUIS VUITTON
and LOUIS VALENTIN “look and sound very similar, and they convey very similar commercial]
impressions.” (Allan Decl., Ex. 12 at 22). The same is true of the LOUIS VUITTON and
LOUIS*V marks. Louis V is a popular nickname for Louis Vuitton products (see, e.g., Pl.’s
Mem. Supp. Pl.’s MSJ 17; Pl.’s Rule 56.1 Statement 9] 15-17), and Louis V is a common,
popular shorthand for Louis Vuitton, as the latter has been used to refer to the former by such
arbiters of popular culture as Pinterest, eBay, Google (Decl. Elizabeth A. McKenzie (“McKenzie
Decl.”} (Docket No. 55) Ex. 1; Allan Decl., Ex. 15), and Kanye West (PI1.’s Rule 56.1 Statement
4/15), among others. Finally, as with the Polaroid analysis writ large, courts are directed to
analyze the totality of the circumstances in determining the degree of similarity. See Nabisco,
220 F.3d at 47 (courts will also “appraise the overall impression created by ... the context in
which they are found and consider the totality of factors that could cause confusion among
prospective purchasers.”) (internal citations omitted). In doing so here, the Court finds close
similarity between LOUIS VUITTON/LOUIS VALENTIN and LOUIS VUITTON/LOUIS*V
and finds that the second Polaroid factor strongly supports a finding of infringement.

The next, third, factor is the proximity of the products. This factor looks at “whether the
two products compete with each other.” La Cibeles, Inc. v. Adipar, LTD., No. 99-CV-4129
(AGS), 2000 WL 1253240, at *7 (S.D.N.Y. Sept. 1, 2000) Ginternal quotation marks omitted).

To determine whether two products compete, courts ask “whether the products serve the same
purpose and whether they share similar geographic distribution, market position and audience
appeal.” /d. (internal quotation marks omitted). Further, they “compare all aspects of the
products, including price, style, intended use, target clientele, typical distribution channels, and
others.” Paco Sport, Ltd. v. Paco Rabanne Parfums, 86 F.Supp.2d 305, 316 (8.D.N.Y. 2000). In
undertaking this comparison, “competitive proximity must be measured with reference to the
first two Polaroid factors,” and, accordingly, the obvious strength of Louis Vuitton’s mark
“demands that it be given broad protection against infringers.” See Mobil Oil, 818 F.2d at 258.
It follows that closely related products, like those at issue here, require less similarity to
supporting a finding of trademark infringement. /a. (internal citations omitted).

Sunny’s strongest counter-argument is that there is no competitive proximity between its
marks and Louis Vuitton’s because Sunny’s marks are on obviously cheap products which,
according to Sunny, distinguishes its goods from the high-end Louis Vuitton products. (Mem.
Law Supp. Defs.’ Mot. Partial Summary Judgment (“Defs.” Mem. Supp. Defs.” MSP’) (Docket
No. 48) 13-15). More concretely, Sunny argues that its marks do not compete with Louis
Vuitton’s by virtue of selling its products at different price points, to different customers, and
through different channels of distribution. Courts have reached different conclusions about
whether similar types of products sold at different price points, to different customers, and
through different channels of distribution should be considered to be in close proximity.
(Compare Lois Sportswear, U.S.A., Inc. v. Levi Strauss & Co., 799 F.2d 867, 874 (2d Cir, 1986)
(holding that the fact that designer jeans were likely to be confused with inexpensive jeans
because consumers could assume that the designer jeans company “had chosen to enter that
market segment using a subsidiary corporation”) with La Cibeles, Inc., 2000 WL 1253240, at *8

(finding that two products do not share similar audience appeal where one was sold mainly in
drugstores and the other at “exclusive stores” and where the prices were vastly different)). In the
counterfeiting context, discussed below, courts in this District have made a finding of
counterfeiting even where products have differed greatly in price. See, e.g., Audemars Piguet
Holding S.A. v. Swiss Watch Int’l, Inc., No. 12-CV-5423 (OB), 2014 WL 47465 (S.D.N.Y. Jan.
6, 2014) (finding counterfeiting where products differed greatly in price), rev ‘d in part on
reconsideration, 2015 WL 150756 (S.D.N.Y. Jan. 12, 2015); Hermes Int’l v. Lederer de Paris
Fifth Ave., Inc., 219 F.3d 104, 109 (2d Cir. 2000).

Even if the Court were inclined to give greater weight to the cases supporting Sunny’s
“different price points” argument, the close similarity between Louis Vuitton’s marks and
Sunny’s tilts the balance in favor of Louis Vuitton. The ubiquity of Louis Vuitton coupled with
the striking similarity with Sunny’s products increases the likelihood of confusion and the
corresponding charge that the two products could be in competition. Although the third factor
analysis tends to favor Louis Vuitton, and especially so when considered in conjunction with the
first two factors, the Court need not rely heavily on this factor in its overall Polaroid analysis.

The Court need not hypothesize about the likelihood of confusion stemming from
competitive proximity between Louis Vuitton’s marks and Sunny’s — or rely entirely on the
third factor — because there is documented proof of actual confusion. A plaintiffneed not show
actual confusion to recover for trademark infringement. See Schutte Bagclosures Inc, v. Kwik
Lok Corp., No. 12-CV-5541 (JGK), ~ F.Supp.3d —, 2014 WL 4802917, at *21 (S.D.N.Y. Sept.
29, 2014). But when a plaintiff can produce such proof, it “is of course convincing evidence that
confusion is likely to occur.” Aceto Agr. Chemicals Corp. v. Bayer Aktiengesellschaft, 10-CV-
1770 (AIN), 2012 WL 3095060, at *9 (S.D.N.Y, July 30, 2012); see also Morningside Grp. Ltd.

vy. Morningside Capital Grp., LLC, 182 F.3d 133, 131 (2d Cir. 1999). A plaintiffcan often show

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actual confusion “by way of a well designed consumer survey.” Rush Indus., Inc. v. Garnier
LLC, 496 F.Supp.2d 220, 227 (E.D.N.Y. 2007). Here, Louis Vuitton has submitted two surveys,
one conducted by proposed expert Gerald Ford (the “Ford Survey”) and one by proposed expert
George Mantis (the “Mantis Survey”).” The Ford Survey found a net confusion of sixty-one
percent between Louis Vuitton sunglasses and those bearing the LOUIS*V mark in combination
with the phrase “PARIS EST. 1941.” (Decl. Steven E. Lauridsen Supp. Defs. Sunny
Merchandise Corp. and Chin Zong Tsai’s Mot. To Exclude Report, Opinions & Testimony
Experts George Mantis & Dr, Gerald Ford (“Lauridsen Mantis/Ford Decl.”) (Docket No. 108),
Ex. | (“Ford Report”) at 3). Similarly, the Mantis Survey found a net twenty-one percent
confusion with regard to the LOUIS VALENTIN mark, (/d., Ex. 3 (“Mantis Report”) at 11).
These percentages are well above those that courts in this Circuit have found probative of actual
confusion.’ See, e.g., Borghese Trademarks Inc. v. Borghese, No. 10-CV-5552 (JPO) (AJP),
2013 WL 143807, at *11 (S.D.N.Y. Jan. 14, 2013) (finding a fifteen percent level of net
confusion to be sufficient for a jury to conclude that actual confusion exists), see also RJR
Foods, Inc. v. White Rock Corp., 603 F.2d 1058, 1061 (2d Cir. 1979) (similar). Additionally,
Louis Vuitton has submitted anecdotal evidence of actual confusion. (P1.’s Rule 56.1 Statement

{4 49, 52). This documented and anecdotal evidence of actual confusion favors a finding of

infringement.

 

Defendants have filed a motion seeking to exclude these two experts. (Docket No. 106).
As explained below, however, the Court finds their opinions to be admissible.

3 Defendants have raised a number of issues with the Ford and Mantis Surveys, including
that they used the wrong universe and failed to reflect real-world circumstances. (Lauridsen
Mantis/Ford Decl., Ex. 5). But even if the Court gives the surveys only minimal weight, the
actual confusion factor still favors Louis Vuitton.

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The analysis of the next factor — whether Louis Vuitton is likely to bridge the gap — is
similar. This factor “turns on the likelihood of whether the senior user will enter the market of
the junior user.” Nikon ine. v. Ikon Corp., 987 F.2d 91, 95 (2d Cir. 1993). Louis Vuitton argues
that there is no gap to bridge because both companies manufacture sunglasses. (PI.’s Mem.
Supp. Pl.’s MSJ 18-19). And, as with the third factor, Louis Vuitton also asserts that the same
type of goods sold at different price points are related goods. (See id.). Louis Vuitton’s position
is supported by case law. See Audemars, 2014 WL 47465, at *11; Nikon, 987 F.2d at 95.
Because the Court finds that Louis Vuitton’s marks and Sunny’s marks appear on related
products, the fifth factor is not of great relevance here.

The opposite is true of the sixth factor. A defendant’s good faith — or lack thereof — in
adopting its mark is highly consequential among the Polaroid factors. See Mobil Oil, 818 F.3d
at 257. The sixth factor analysis is an equitable inquiry which seeks to answer the overarching
question of whether defendant adopted its mark with the intention of capitalizing on plaintiff's
reputation and goodwill. See Edison Bros. Stores, Inc. v. Cosmair, Inc., 651 F.Supp.1547, 1560
(S.D.N.Y. 1987) (internal citation omitted). Accordingly, where the second-comer has adopted
its mark in bad faith, “the equitable balance is tipped significantly in favor of a finding of
infringement.” Jd. Courts have found a presumption of likelihood of confusion in such
circumstances. See Paddington Corp. v. Attiki Importers & Distribs., Inc., 996 F.2d 377, 586-87
(2d Cir. 1993) (“Where a second-comer acts in bad faith and intentionally copies a trademark ,.,
a presumption arises that the copier has succeeded in causing confusion.”); Mobil Oil, 818 F.3d
at 257 (“Intentional copying gives rise to a presumptton of likelihood of confusion.”).

The Court finds such a presumption appropriate here. The evidence demonstrates that

Sunny intentionally attempted to appropriate the ubiquitous LOUIS VUITTON mark through the

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use of its confusingly similar LOUIS*V and LOUIS VALENTIN marks, As recounted above,
Sunny has admitted that the LOUIS Valentin brand is “inspired by” Louis Vurttton and that the
name was chosen because it is “elegant” and “sound[s] French.” (PL.’s Rule 56.1 Statement {[ 30;
Allan Decl., Ex. 13 at 152:9, 153:3). Further, While Sunny has no connection to Paris, several
styles of Sunny sunglasses feature the phrase “Paris” or “Paris Est. 1941.” (PI.’s Rule 56.1
Statement 4] 33, 35-37; Allan Decl., Ex. 13 at 268:1-17). While these “coincidences” suggest
that Sunny’s mark intentionally sought to capitalize on Louts Vuitton’s goodwill and ubiquity,
viewed in the light most charitable to Sunny they are not dispositive. “There is a considerable
difference between an intent to copy and an intent to deceive,” and while copying could indicate
bad faith, the factfinder “is not required to draw that inference where there is evidence to the
contrary.” Starbucks Corp. v. Wolfe’s Borough Coffee, Inc., 588 F.3d 97, 117-18 (2d Cir. 2009).
Even so, “[o]ne who adopts the mark of another for similar goods acts at his own peril and any
doubt concerning the similarity of the marks must be resolved against him.” Am. Home Prods.
Corp. v. Johnson Chem. Co., 589 F.2d 103, 107 (2d Cir. 1978) (internal citation omitted).

Here, whatever ambiguity exists regarding Sunny’s intentions must be considered in light
of Sunny’s own communications and its seeming proclivity toward infringement; both of which
leave little doubt as to Sunny’s aims in adopting the LOUIS VALENTIN and LOUIS*V marks.
Louis Vuitton has introduced an e-mail from Stanley Tsai, Sunny’s general manager, stating that
he was “counting the days until [Sunny] get[s] the letter from LOUIS VUITTON lawyers to
make [Sunny] drop [its] trademark.” (P1.’s Rule 56.1 Statement 445). That same e-mail
suggested that the longer Sunny could “stay under [Louis Vuitton’s] radar” the better, as, given
the newness of Sunny’s marks, “LOUIS VUITTON will have a good case.” (Ud). Second,

Louis Vuitton demonstrates that Sunny is a habitual infringer that has copied not only Louis

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Vuitton’s marks but also those of several other famous brands, including Gucci, Dior, and
Chanel, among other. (Pls. Mem. Supp. PI.’s MSJ 14-15; Pl.’s Reply Mem. Defs.’ Opp’n PL’s
Mot. Partial Summary Judgment (“PI.’s Reply Supp. PI.’s MSJ”} (Docket No. 122) 3). See Bear
USA, Inc. v. A.J. Sheepskin & Leather Outerwear, Inc., 909 F. Supp.896, 907 n.17 S.D.N.Y.
1995) (finding a history of infringement to be relevant to the bad faith analysis). Sunny’s history
of infringement is not necessary to a finding of intentional misappropriation here, but it
contextualizes S. Tsai’s email and makes it unlikely that a jury could reach a conclusion other
than Sunny intentionally misappropriated the LOUIS VUITTON mark in bad faith.
Accordingly, the Court resolves the equitable sixth factor heavily in favor of Louis Vuitton and
finds that Sunny’s intentional bad faith in adopting the LOUIS VALENTIN and LOUIS*V marks
gives rise to a presumption in favor of a likelihood of confusion.

The remaining two factors, the quality of the products and the sophistication of the
customers, also tend to favor Louis Vuitton. The seventh factor, the quality of defendants’
product, “is primarily concerned with whether the senior user’s reputation could be jeopardized
by virtue of the fact that the junior user’s product is of inferior quality.” Arrow Fastener Co.,
Inc. y. Stanley Works, 59 F.3d 384, 398 (2d Cir. 1995); see also Gameologist Grp., LLC y.
Scientific Games Int'l, Inc., 838 F.Supp.2d 141, 164 (S.D.N.Y. 2011). There is no dispute that
Sunny’s products are of an inferior quality to Louis Vuitton’s, and, as with regard to the seventh
factor, the Court accepts Louis Vuitton’s parallel argument with respect to confusion in the post-
sale context as well. Therefore this seventh factor also favors Louis Vuitton, although the Court
does not rely heavily on it in the overall Polaroid analysis.

The final factor examines the sophistication of the purchasers. As several courts have

noted, purchasers of Louis Vuitton products “tend to be sophisticated and discerning,” Malletier

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v. Burlington Coat Factory Warehouse Corp., No. 04~CV-2644 (RMB), 2006 WL 1424381, at
#8 (S.D.N.Y. May 23, 2006), aff'd and remanded, No. 06-CV-2540, 217 Fed.Appx. 1 (2d Cir.
2007); see also Louis Vuitton Malletier v. Dooney & Bourke, 340 F.Supp.2d 415, 446 (S.D.NLY.
2004) vacated in part on other grounds by 454 F.3d 106 (2d Cir. 2006). The prototypical Louis
Vuitton purchaser could therefore be expected to be able to distinguish between Sunny’s and
Louis Vuitton’s products. However, as discussed above, the Court need not engage in such a
hypothetical exercise because there is a high degree of documented actual confusion between
Sunny’s marks and Louis Vuitton’s. This existence of actual confusion, the fourth Polaroid
factor, adds credence to Louis Vuitton’s theory of post-sale confusion, suggesting that
individuals other than the purchaser are relevant to the infringement analysis. See Louis Vuitton
Maliletier S.A. v. LY USA, Inc., 472 Fed. Appx. 19, 21 (2d Cir. 2012), (P1.’s Mem. Supp. PI.’s
MS] 20-21). The potential for both initial purchase and post-sale confusion tends to favor a
finding of infringement. Consequently, this factor also favors Louis Vuitton though, like the
seventh factor, it does not weigh heavily here in the overall Polaroid analysis.

Having completed the Polaroid analysis, the Court finds that Louis Vuitton’s motion for
summary judgment on its infringement claims must be granted.4 In reaching this conclusion, the
Court places particular emphasis on the strength of Louis Vuitton’s LOUIS VUITTON mark and
the high degree of similarity among the LOUIS VUITTON mark and Sunny’s LOUIS+V and

LOUIS VALENTIN marks, in conjunction with Sunny’s apparent bad faith in attempting to

 

4 Plaintiff also argues that “Sunny has soid sunglasses featuring exact copies of Louts
Vuitton’s Daimler Mark” and “close copies of the Louis Vuitton Flower Marks.” (P1.’s Mem.
Supp. Pl.’s MSJ 21). Because Louis Vuitton has acknowledged that its state law claims are
“soverned by essentially the same standard as its infringement claim,” summary judgment is also
granted on those claims. See Mobil Oil Corp., 818 F.2d at 260. (P1.’s Mem. Supp. Pl.’s MSJ 22

n.10),

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misappropriate the goodwill of the famous LOUIS VUITTON. These findings raise a
presumption of likelihood of confusion that has been borne out by Louis Vuitton’s offering proof
of actual confuision among the marks and further bolster the finding that there is “gap to bridge”
because the products are so similar. Although the superior quality of Louis Vuitton’s products
and the sophistication its customers also tend to favor Louis Vuitton, the Court need not rely on
those factors due to how heavily the other factors weigh in Louis Vuitton’s favor. Accordingly,
the Court grants Louis Vuitton’s motion for summary judgment on its infringement claims.

2. Cross-Motions for Summary Judgment on Counterfeiting

Both Plaintiff and Defendants have moved for summary judgment on Plaintiff’ s
counterfeiting claims with regard to the LV and Flower marks. (PI.’s Mem. Supp. Pl.’s MSJ 22-
24; Defs.’ Mem. Supp. Def.’ MSJ 8-24).° Under the Lanham Act, a counterfeit mark is a
“spurious mark which is identical with, or substantially indistinguishable from, a registered
mark.” 15 U.S.C. § 1127. To be substantially indistinguishable, two marks must be “nearly
identical ... with only minor differences which would not be apparent to an unwary observer,”
Consol. Cigar Corp. v. Monte Cristi de Tabacos, 58 F.Supp.2d 188, 196 (S.D.N.Y. 1992). If
that standard is met, “the Court need not undertake a factor-by-factor analysis under Polaroid
because counterfeits, by their very nature, cause confusion.” Coach, Inc. v. Horizon Trading
USA Inc., 908 F.Supp.2d 426, 433 (S.D.N.Y. 2012) (international quotation marks omitted).

Defendants argue that the difference in quality between its products and Louis Vuitton’s

are dispositive. (Defs.’ Mem. Supp. Defs.” MSJ 13-15). Defendants rely heavily on Gueci

 

° Louis Vuitton concedes that the Daimler and Rounder Flower Marks are not a counterfeit
mark under the Lanham Act. (Mem. Law Opp’n Defs.’ Mot. Partial Summary Judgment (“PI.’s
Mem. Opp’n Def.’ MSJ”) (Docket No. 82) 6 n.6). Defendants’ motion for partial summary
judgment is therefore granted to the extent the Complaint can be read to assert any such claim.

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America, inc. v. Guess?, Inc., 868 F.Supp.2d 207, 242, 253 (S.D.N.Y. 2012), which stated that
“courts have uniformly restricted trademark counterfeiting claims to those situations where entire
products have been copied stitch-for-stitch.” (Defs.’ Mem. Supp. Defs.” MSJ 11, 13; Defs.’
Reply Mem. Supp. Their Mot. Partial Summary Judgment (“Defs’ Reply Supp. Defs.” MSJ”)
(Docket No. 114) £-4). But even assuming that the Guess? Court intended to hold that entire
products must be counterfeit (which is far from clear), the Court provided no citation for that
proposition, which runs counter to the plain text of the Lanham act.© See 15 U.S.C. § 1127 A
‘counterfeit’ is a spurious mark which is identical with, or substantially indistinguishable from, a
registered mark.”). Further, as Plaintiff points out in its memorandum of law, several courts in
this Circuit have found products to be counterfeit even if they were of inferior quality to the
original. See, e.g., Coach, Inc. y. Zhen Zhen Weng, No. 13-CV-445, 2014 WL 2604032
(S.D.N.Y. Jun 9, 2014); see also Gucci Am., Inc. v. MyReplicaHandbag.com, No, 07-CV-2438
(JIGK), 2008 WL 512789, at *1 (S.D.N.Y. Feb. 26, 2008) (finding that the defendants
“manufacture, distribute and sell counterfeit Gueci, Chloe and Dunhill goods” where the
products “use the same color schemes, patterns and designs as the plaintiffs’ products, but are

inferior in quality and workmanship”). This makes good sense. One of the main purposes of

 

6 Defendants also rely on Louis Vuitton Malletier S.A. v. Haute Diggity Dog., LLC, 507
F.3d 252 (4th Cir. 2007). That case, however, has little bearing on the one at hand. Haute
Diggity Dog involved the question whether “Chewy Vuitton” dog toys bearing “Chewy Vuitton”
and “CV” marks were counterfeits. The Court’s conclusion that they were not hinged not only
on the fact that the products were different but also on the differences between the marks
themselves. Jd. at 269. Further, even if the Court had relied solely on the distinctions between
the products, the case at issue here would be distinguishable. There is a significant difference
between selling dog toys — which (1) Louis Vuitton does not sell and (2) were intended as a
parody —- and selling cheap sunglasses. Unlike in this case, the two products in Haute Diggity
Dog were different in kind, not just quality. See id. (“In selling “Chewy Vuitton’ dog toys, Haute
Diggity Dog is not selling knock-off LOUIS VUITTON handbags with a counterfeit LV mark,
and no reasonable trier of fact could so conclude.”).

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federal trademark law is to protect “the businessman’s right to enjoy business earned through
investment in the good will and reputation attached to a trade name.” Christian Louboutin S.A.
v. Yves Saint Laurent Am. Holdings, Inc., 696 F.3d 206, 215 (2d Cir. 2012) (internal quotation
marks omitted), Sunny argues that someone purchasing Sunny’s glasses would not believe them
to be genuine Louis Vuitton, but the same does not necessarily hold true in the post-sale context.
If an observer sees a mark that he believes to be Louis Vuitton’s on a pair of sunglasses, “it is
likely that the observer would identify the [sunglasses] with the plaintiff, and the plaintiff’s
reputation would suffer damage if the [sunglasses] appeared to be of poor quality.” Polo
Fashions, Inc. v. Crafiex, Inc., 816 F.2d 146, 148 (4th Cir. 1987). Consequently, the mere fact
that Louis Vuitton’s products are of significantly higher quality than Sunny’s is not sufficient to
entitle Defendants to judgment as a matter of law on Louis Vuitton’s counterfeiting claims.

Next, Defendants point to a number of differences between the symbols they use and
Louis Vuitton’s LV and Flower marks. For example, Louis Vuitton believes that Sunny’s
overlapping VF Design’ — which Sunny claims stands for Visuaf Fantasy (Defs.’ Rule 56.1
Statement { 29) — is a counterfeit of its overlapping LV mark. (Compl. § 30). An F, however,
is obviously not the same letter as a V. (Defs.” Mem. Supp. Defs.” MSJ 15-18). Cf Montres
Rolex, S.A. v. Snyder, 718 F.2d 524, 531 (2d Cir. 1983) (stating that it is “doubtful” that “the
average purchaser” would have viewed an overlapping PV mark as “substantially
indistinguishable” from Louis Vuitton’s overlapping LV mark). Similarly, Defendants point out
that all three of Louis Vuitton’s Flower marks contain four petals, while several of Sunny’s

flower designs have five or six. (Defs. Rule 56.1 Statement 1-2; Defs.’ Mem. Supp. Defs.’ MSJ

 

7 For ease of reference, the Court will refer to both Sunny’s and Louis Vuitton’s designs by
the names used in Defendants’ Rule 56.1 Statement.

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18-19), And with regard to Louis Vuitton Pointed Flower Mark specifically, Louis Vuitton’s
petals are of a slightly different shape than those featured on Sunny’s Pointed Flower, and the
circle at the center of Louis Vuitton’s mark is larger than that at the center of Sunny’s. (Defs.’
Rule 56.1 Statement 1-2; Defs.” Mem. Supp. Defs.’ MSJ 19). Finally, with regard to Louis
Vuitton’s Diamond Flower Mark, Louis Vuitton’s registered mark has a circle in the center, and
Sunny’s allegedly counterfeit Diamond figure does not. (Defs.’ Rule 56,1 Statement 1-2; Defs.’
Mem. Supp. Defs.’ MSJ 20).

Louis Vuitton argues that these differences are so small as to be “legally irrelevant.”
(Pl.’s Mem. Supp. PI.’s MSJ 23). Courts in this Circuit have found a mark to be counterfeit even
if it has “minor differences” from the original, Consol. Cigar Corp., 58 F.Supp.2d at 196,
including incorporating different letters from the original mark, see Coach, Inc. v. Horizon
Trading USA Inc., 908 F.Supp.2d 426, 433-34 (S.D.N.Y. 2012) (finding GC mark to be
counterfeit of Coach’s CC mark). (P1.’s Mem. Opp’n Defs.’ MSJ 5). The Court, therefore,
agrees with Louis Vuitton that Sunny’s marks are not sufficiently different from Louis Vuitton’s
for Defendants’ to be entitled to judgment as a matter of law: while the differences may be
apparent upon close inspection, they would not necessarily be obvious to the average purchaser.
See Montres Rolex, S.A., 718 F.2d at 532 (whether a mark is counterfeit is to be considered from
the perspective of the average consumer, not an expert). For example, while Sunny’s VF symbol
uses a different letter from Louis Vuitton’s LV mark, the F is styled in such a way that it could
easily be mistaken for a V. (See Defs.’ Rule 56.1 Statement 1). Nonetheless, the differences that
Sunny points out between its marks and Louis Vuitton’s are significant enough that it would not

be unreasonable for a trier of fact to conclude that they ave distinguishable. Accordingly, the

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Court denies both Louis Vuitton’s and Defendants’ motions for summary judgment on the
counterfeiting claims.®

3 Defendants’ Motion for Summary Judgment on All Claims Against Gene Tsai

In addition to suing Sunny, Louis Vuitton is seeking to hold Gene Tsai, Sunny’s president
and founder, personally liable. A corporate officer is liable for trademark infringement if he
“directs, controls, ratifies, participates in, or is the moving force behind the infringing activity.”
ABC Rug & Carpet Cleaning Serv., Inc. v. ABC Rug Cleaners, Inc., No. 08 Civ. 5737 (RMB)
(RLE), 2010 WL 10091076, at *13 (S.D.N.Y Feb. 10, 2010) (internal quotation marks omitted).
Courts have found an employee to be the “moving force” behind a Lanham Act violation when
he was primarily responsible for designing, marketing and developing an infringing product,
Merk Eprova AG v. Brookstone Pharm., LLC, 920 F.Supp.2d 404, 427 (S.D.N.Y. 2013), or
otherwise “directly participated” in the violation, Ramada Franchise Sys., Inc. v. Boychuk, 283
F.Supp.2d 777, 788 (S.D.N.Y. 2003).

Defendants argue that that standard is not met here because Tsai “has not been involved
in the operations of the company” since his 2003 heart attack and subsequent stroke. (Defs.’
Mem. Supp. Defs.’ MS] 3; Defs. Rule 56.1 Statement J 6-7). See Ramada Franchise Sys., lnc.,
283 F.Supp.2d at 788 (finding that the defendant was not personally liable for violating the
Lanham Act because “he was not involved in the day-to-day decisionmaking process or
operations” of the company). Both Stanley and Gene Tsai, for example, stated in their

depositions that Gene Tsai’s role in the company after his heart attack was minimal. (See, ¢.g.,

 

8 Because the Court finds that Louis Vuitton is not entitled to summary judgment on its
Lanham Act claims, it need not address Defendants’ laches and acquiescence arguments. (See
Defs.’ Replacement Mem. Law Opp’n PI.’s Mot. Partial Summary Judgment (“Defs.’ Mem.
Opp’n Pl.’s MSI”) (Docket No. 112) 9-12).

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Lauridsen Decl. Supp. Defs.’ MSJ, Ex. 7, at 21:14 (stating that Gene Tsai’s role was “very
limited”); Ex. 8 at 10:22-23 (stating that, after his heart attack, Gene Tsai “did not get involved
or manage the work anymore”)). While Gene Tsai is Sunny’s president, both Stanley and Gene
Tsai maintain that the title was merely an honorific. (See, e.g., Lauridsen Decl. Supp. Defs.’
MSJ, Ex. 8 at 79:25-80:11 (stating that Tsai is president “in name only”); Decl. Stanley Tsai
Supp. Mot. Summary Judgment (“Stanley Tsai Deci.”) (Docket No. 73) 9). Further, two
employees stated at their depositions that Gene Tsai was generally absent from Sunny’s offices
(Defs.’ Rule 56.1 Statement { 13), and not one of Sunny’s customers said that he or she had
heard of or communicated with him (Defs.’ Rule 56.1 Statement {| 14).

On the other hand, Louis Vuitton maintains that Gene Tsai was actively involved in the
business. It notes that, until 2012 (nine years after Gene Tsai’s heart attack), Sunny was the
company’s sole shareholder, and he is still the company’s president. (PI.’s Rule 56.1 Statement
{7 88-89). He also receives over rent from Sunny, which occupies a building that Tsai owns,
despite the absence of a lease agreement. (PI.’s Rule 56.1 Statement {| 87). As president, Gene
Tsai’s formal responsibilities included “general supervision, direction and control of the
business.” (PI.’s Rule 56.1 Statement {] 90). Further, Gene Tsai has attended Sunny’s board
meetings, including some that were held at his home, and he signed Sunny’s tax returns until
2013. (P1.’s Rule 56.1 Statement #4] 91-92). Louis Vuitton also fixates on the fact that Gene
Tsai was the only Sunny witness with any knowledge of the VF logo (PI.’s Rule 56.1 Statement
"| 70-74), in addition to being the person who incorporated Visual Fantasy, Inc., a California
corporation that was dissolved in 1991 (P1.’s Rule 56.1 Statement {| 75).

None of Louis Vuitton’s evidence, however, creates a genuine question of material fact

as to Gene Tsai’s role in the company. Louis Vuitton’s reliance on Tsai’s knowledge of the VF

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Logo, for example, is misplaced. While Gene Tsai stated that the company uses the VF logo, he
also said that he was not involved “in the process of working with the factory on a VF
configuration” and that he believed that the sunglasses were designed by the company’s manager
or the factory. (Decl. Steven E. Lauridsen Opp’n P1.’s Mot. Partial Summary Judgment
(“Lauridsen Decl. Opp’n P1.’s MSJ”) (Docket No. 91), Ex. 1 at 51:8-12, 68:20-21). The fact that
Louis Vuitton did not depose anyone who said he or she was involved with the design of the
sunglasses does not transform Gene Tsai into the “moving force” behind them. Further, while
Gene Tsai was present at board meetings, Louis Vuitton has not introduced any evidence that
specific products or intellectual property issues were ever discussed at the meetings, let alone
that Tsai took an active part in them. (See Decl. Chin Zong Tsai a/k/a Gene Tsai Supp. Mot.
Summary Judgment (“Gene Tsai Decl.”) (Docket No. 57) 4 10; see also Sunny Tsai Decl. { 10).
Louis Vuitton, then, is left almost entirely with Gene Tsai’s formal role at the company. But the
fact that Gene Tsai appeared on paper to have general oversight of the company and that he
signed certain legal documents is hardly sufficient to show that he was directly involved m
Sunny’s alleged infringement. See Kuklachev v. Gelfman, No. 08-CV-2214 (CPS) (VVP), 2009
WL 804095, at *5 (E.D.N.Y. Mar. 25, 2009) (holding that an allegation only that “defendants
held certain titles” but not that they “authorized or approved any allegedly infringing actions” is
insufficient to demonstrate the officers should be personally liable); ef Peacable Planet, Inc. v.
Ty, Inc., 362 F.3d 986, 994 (7th Cir. 2004) (“{U]nless a shareholder—sole, controlling, or
otherwise—is shown to have been personally involved in the commission of the tort by his
corporation, he is not jointly liable for the tort.”). Consequently, the Court finds that Defendants

are entitled to summary judgment with regard to the claims against Gene Tsai.

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4. Non-Daubert Evidentiary Objections

Both Plaintiff and Defendants have asked the Court to strike portions of the other’s Rule
56.1 statements. Louis Vuitton argues that Defendants’ “Additional Responsive Facts” in their
response to its Rule 56.1 statement violate Local Rule 56.1(d). (Louis Vuitton’s Responses
Defs.’ Additional Responsive Facts (“PI.’s Response Defs.’ Additional Facts”) (Docket No. 123)
1-2). Because the Court did not rely on the Additional Responsive Facts, Louis Vuitton’s motion
to strike is denied as moot.

Defendants have lodged a long list of objections to Louis Vuitton’s evidence. (Defs.’
Evidentiary Objections Opp’n PI.’s Mot. Partial Summary Judgment (“Defs.’ Ev. Objections”)
(Docket No. 89)). As an initial matter, Defendants’ objections to evidence on which the Court
did not rely (including, but not limited to, its objections to the Klug Declaration, Paragraph 7 of
the Hamilton Declaration, and Exhibit 10 to the Allan Declaration) are denied as moot. Its other
non-Daubert objections are also denied, without prejudice to renewal at trial. Many of
Defendants’ objections, for example, relate to evidence of the strength of Louis Vuitton’s brand
in general — rather than its strength with regard to sunglasses in particular — as irrelevant and
prejudicial. (See, e.g, Defs.’ Ev. Objections 2 (objection to Hamilton Decl. paragraphs 3-6, and
8-10), 3 (objection to Allan Decl. Ex. 6)). As explained above, however, that evidence is plainly
relevant to Plaintiffs trademark claims. Defendants also object to the introduction of Louis
Vuitton and third-party advertisements, internet search results, and various articles and reports on
the basis that they are hearsay. (See, e.g., Defs.’ Evidentiary Objections 5 (objections to
McKenzie Decl. Exs. 1-8)). These documents, however, are not being used for the truth of the
matter asserted and therefore are not hearsay. The Court has also considered Defendants’ other

objections and finds them to be similarly meritless.

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B. Defendants’ Motions To Preclude Plaintiff's Proposed Experts’ Testimony
The admissibility of expert testimony is governed by Federal Rule of Evidence 702,
which provides, in relevant part as follows:
A witness who is qualified as an expert by knowledge, skill, experience, training,
or education may testify in the form of an opinion or otherwise if:
(a) the expert's scientific, technical, or other specialized knowledge will
help the trier of fact to understand the evidence or to determine a fact in
issue;
(b) the testimony is based on sufficient facts or data;
(c) the testimony is the product of reliable principles and methods; and
(d) the expert has reliably applied the principles and methods to the facts
of the case.
Fed. R. Evid. 702. In Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993), the
United States Supreme Court defined the “gatekeeping role” of the district courts with respect to
expert testimony, declaring that “the Rules of Evidence especially Rule 702—[ ] assign to the
trial judge the task of ensuring that an expert's testimony both rests on a reliable foundation and
is relevant to the task at hand.” A trial court should therefore admit expert testimony only where
it is offered by a qualified expert and is relevant and reliable. See generally id. at 587-90; see
also Nosal v. Granite Park LLC, 269 F.R.D. 284, 286 (S.D.N.Y. 2010), The Rule 702 inquiry,
however, “is a flexible one,” Daubert, 509 U.S. at 594, and a “liberal standard of admissibility”
ought to be employed, Nimely v. City of N.Y., 414 F.3d 381, 395-96 (2d Cir. 2005); see also

Nosail, 269 F.R.D. at 287.

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The focus of a court’s reliability inquiry “must be solely on principles and methodology,
not on the conclusions they generate.” Daubert, 509 U.S. at 595. In Daubert, the Supreme
Court listed four factors to guide district courts in assessing the reliability of expert testimony:
(1) whether the expert’s technique or theory can be or has been tested; (2) whether it has been
subjected to peer review and publication; (3) its known or potential rate of error; and (4) whether
the theory or technique is generally accepted by the relevant scientific community. /d. at 593-94.
Yet given the “flexible” nature of the Rule 702 admissibility inquiry, id. at 594, “the factors
identified in Dawbert may or may not be pertinent in assessing reliability, depending on the
nature of the case, the expert’s particular expertise, and the subject of his testimony.” Kzmho
Tire Co. v. Carmichael, 526 U.S. 137, 150 (1999). In other words, “whether Daubert’s specific
factors are, or are not, reasonable measures of reliability in a particular case is a matter that the
law grants the trial judge broad latitude to determine.” Jd. at 153.

Defendants have filed three separate motions to exclude the testimony and reports of
Louis Vuitton’s proposed experts —— Carla Mulhern (Docket No. 99), Seth Matlins (Docket No.
103), George Mantis (Docket No. 106), and Dr. Gerald Ford (together with Mantis, the “Survey

Experts”). Based on the above principles, the Court will address each in turn.”

 

3 To the extent that Defendants move to strike Mulhern’s and Matlins’s reports (Decl.
Steven E. Lauridsen Supp. Defs. Sunny Merchandise Corp. & Chin Zong Tsai’s Mot. To
Exclude Report, Opinions & Testimony Expert Carla S. Mulhern (“Lauridsen Mulhern Decl.”)
(Docket No. 102), Ex. 1 (the “Mulhern Report”); Decl. Steven E. Lauridsen Supp. Dets. Sunny
Merchandise Corp. & Chin Zong Tsai’s Mot. To Exclude Report, Opinions & Testimony Expert
Seth Matlins (“Lauridsen Matlins Decl.”) (Docket No. 105), Ex. 1 (“Matlins Report”)), the
motions are effectively moot as the Court did not rely on the reports in reaching its conclusions
on the motions for summary judgment. But, insofar as the case will now proceed to trial (absent
settlement), the portions of the motions seeking to preclude Mulhern and Matlin from testifying
are not moot.

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I. Motion to Exclude Proposed Expert Carla Mulhern

Defendants seek to exclude the testimony of Carla Mulhern, an economist, on the
grounds that: (1) the majority of the report consists of “{s]imple addition [that] is well within the
capabilities of the jury”; (2) she “makes a series of unsupported conclusions” concerning Louis
Vuitton’s damages; (3) her analysis is not within the scope of a post-sale environment; and (4)
her report does not cover the relevant time period. (Mem. Law Supp. Defs. Sunny Merchandise
Corp. & Chin Zong Tsai’s Mot. To Exclude Expert Report & Testimony Carla S. Mulhern
(“Defs.’ Mulhern Mem.”) (Docket No. 100) 2-7). Ail of Defendants’ objections are meritless.

First, Defendants object to the inclusion of several excel spreadshects created by Mulhern
and her associates that reflect Sunny’s revenues, cost margins, and profits (Mulhern Report, Exs.
2-9) on the grounds that she simply took data produced by Sunny and reformatted it. (Defs.’
Mulhern Mem. 2-3). Because Mulhern did nothing more than “simply add up” figures provided
to her by Sunny, Defendants argue, the tables should be excluded as involving “‘lay matters
which [the trier of fact] is capable of understanding and deciding without the expert’s heip.’”
(Defs.’ Mulhern Mem. 2 (quoting Andrews v. Metro N. Commuter R.R. Co., 882 F.2d 705, 708
(2d Cir. 1989)). But Mulhern did more than simply add a few numbers — she combed through
at least 100 pages of sales reports, compiled and aggregated the data (which was provided on a
iransaction-by-transaction basis), and presented it in a more readily understandable format.
(Allan Decl., Ex. [ at 83:5-6, 52:15-53:13; Lauridsen Mulhern Decl., Ex. 2 at 65:16-66:9). Her
spreadsheets are therefore “summaries of the contents of voluminous data [which] will
streamline the presentation of that data to the jury, saving the jury time and avoiding unnecessary
confusion.” See Gill y. Arab Bank, PLC, 893 F.Supp.2d 523, 536 (E.D.N.Y. 2012); see also

lacobelli Constr., Inc. v. Cnty. of Monroe, 32 F.3d 19, 25 (2d Cir. 1994) (“Given the inherently

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voluminous and highly technical nature of the data in such cases, the parties in a construction-
contract dispute usually must retain experts to summarize and interpret that data.”).
Accordingly, they are admissible.

Defendants’ second argument is equally unconvincing. Defendants seek to exclude
Mulhern’s conclusions about the effect of Sunny’s sales on Louis Vuitton’s brand value as
“subjective belief or unsupported speculation” (Defs.” Mulhern Mem. 5 (quoting Daubert, 509
U.S. at 590)) because she relied on articles about brand value and deposition testimony without
performing any analysis of her own, (Deis. Mulhern Mem. 4-5). Such sources, however, are
clearly within the universe of those on which Mulhern could permissibly rely. See, e.g., U.S.
Info. Sys., Ine. v. Int’l Bhd. Elec. Workers Local Union No, 3,313 F.Supp.2d 213, 236-37
(S.D.N.Y. 2004) (allowing expert testimony that relied heavily on deposition testimony).
Further, that Mulhern’s testimony is qualitative, rather than quantitative, does not mean that it
must be excluded. Muthern’s reasoning “is based principally upon [her] experience and research
in the world of [economics], which qualify [her] to opine on such matters.” Beastie Boys v.
Monster Energy Co., 983 F.Supp.2d 354, 364-65 (S.D.N.Y. 2014). As the Court explained tna
case similarly rejecting a challenge to expert testimony on brand erosion, “‘[t]echnical . . . or
other specialized knowledge’ may be relevant and reliable, and therefore admissible under
Daubert, even if the field of knowledge, be it marketing or plumbing, does not readily lend itself
to a formal or quantitative methodology.” Jd,

Defendants’ next objection —- that the report does not reveal anything about a post-sale
environment — is beside the point. First, Louis Vuitton has not limited its claims to those
involving post-sale confusion, (Louis Vuitton’s Opp’n Defs.’ Mots. To Exclude Expert Reports

& Testimony Carla Mulhern, Seth Matlins, Dr. Gerald Ford & George Mantis (“P1.’s Expert

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Mem.”) (Docket No. 128) 6). Second, it is unclear why a calculation of profits of sales of
infringing merchandise would differ based on a plaintiff’s decision to pursue a post-sale theory
of liability. To the extent that Defendants’ believe Mulhern’s conclusions do not hold in the
post-sale context, their objections “may be properly explored on cross-examination and go to
[the] testimony’s weight and credibility — not its admissibility.” Jnt’l Bus. Machs. Corp. v.
BCG Partners, Inc., No. 10 Civ, 128 (PAC), 2013 WL 1775437, at *16 (S.D.N.Y, Apr. 25,
2013) (alteration and internal quotation marks omitted); see also Bacardi & Co. v. N.Y. Lighter
Co., Inc., No. 97-CV-7140 JS VVP, 2000 WL 298915, at *2 (E .D.N.Y. Mar. 15, 2000)
(“Although expert testimony should be excluded if it is speculative or conjectural, or if it is
based on assumptions that are so unrealistic and contradictory as to suggest bad faith, or to be in
essence an apples and oranges comparison, other contentions that the assumptions are unfounded
go to the weight, not the admissibility, of the testimony.” (internal quotation marks omitted)).
The same is true with regard to Defendants’ final objection, that Mulhern considered the
wrong time period. If Defendants believe that Mulhern’s report is over-inclusive, they may
question her about it at trial. And, in any event, the objection is premature. Defendants believe
that Louis Vuitton cannot recover damages or profits unless (1) Sunny had actual notice of Louis
Vuitton’s trademark registrations or (2) Louis Vuitton complied with the constructive notice
requirements of the Lanham Act. (Defs.’ Expert Mem. 6). That is a legal question, however,
with which the Court has not been properly presented. The Court therefore declines to resolve it
in the context of a motion to exclude expert testimony. Further, even if the Court were to accept
Defendants’ legal argument, whether Sunny had actual notice of Louis Vuitton’s trademark

registrations is a question of fact that is properly left for trial.

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Lastly, although Defendants do not challenge Mulhern’s qualifications, the Court finds
that she is undoubtedly qualified. Mulhern, who specializes in intellectual property valuation
and damages assessments, has both an M.Sc. in economics from the London School of
Economics and Political Science, and a B.S. in mathematics from Bucknell University.
(Mulhern Report 2, App. A; see also Decl. Michael J. Allan Supp. Louis Vuitton’s Opp’n Defs.’
Mots. To Exclude Expert Reports & Testimony Carla Mulhern, Seth Matlins, Dr. Gerald Ford &
George Mantis (“Allan Expert Decl.”) (Docket No. 129), Ex. 1 at 13:14-17). She has also
worked in the “intellectual property damages area” for around twenty to twenty-five years,
including testifying in at least three other trademark cases and numerous patent cases. (Allan
Expert Decl., Ex. | at 19:1, 19:10-19:13; Mulhern Report 2, App. A).

2. Motion To Exclude Proposed Expert Seth Matlins

Defendants’ seek to exclude Plaintiffs proposed marketing expert, Seth Matlins, on the
grounds that he (1) is not qualified (Mem. Law Defs. Sunny Merchandise Corp. & Chin Zong
Tsai’s Mot. To Exclude Report, Opinions, & Testimony PI.’s Expert Seth Matlins (“Defs’
Matlins Mem.”) (Docket No. 104) 2-3); (2) cited only documents that “can be readily understood
by the layperson” (/d. at 3-8); (3) failed to apply any “specialized knowledge or methodology”
(Id, at 8-9); and (4) improperly opined on an ultimate issue (/d. at 9-10). For the reasons
explained below, Defendants’ motion is granted in part and denied in part.

First, Matlins is qualified to testify as a marketing expert. Defendants criticize Matlins
for his supposed lack of relevant formal educational training, but “[tfhe Second Circuit has taken
a liberal view of the qualification requirements of Rule 702, at least to the extent that a lack of
formal training does not necessarily disqualify an expert from testifying if he or she has

equivalent relevant practical experience.” In re Rezulin Prods. Liab. Litig., 309 F.Supp.2d 531,

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559 (S.D.N.Y. 2004); see also Peerless Ins. Co. v. Marley Engineered Prods. LLC, No, CV 05—
A848 (AKT), 2008 WL 7440158, at *2 (E.D.N.Y. June 12, 2008) (“This Circuit has adopted a
liberal standard for qualifying an expert and there is no requirement that a witness have formal
education or training before being qualified as an expert.” (citing Nimely v. City of N.Y., 414 F.3d
381, 396 (2d Cir. 2005))). “If an expert’s training and experience is in a field closely related to
the area of the proposed testimony, that may — in appropriate circumstances — be sufficient to
meet Rule 702’s qualification standards.” SEC y, Tourre, 950 F.Supp.2d 666, 674 (S.D.N.Y.
2013). Here, Matlins’s marketing and branding experience is sufficient to qualify him as an
expert on branding. (P1.’s Expert Mem. 14). For more than two decades, he has “worked at the
highest levels of the branding and marketing business,” and has been involved with “dozens of
brands and hundreds of ‘deals’ from their conception, planning, negotiation, and the execution of
transactions.” (Matlins Report at 1}. He has not only “worked for, with, and represented” some
of the most recognizable brands operating today, including Apple, BMW, and Coca-Cola, but
also “conceived, developed, and launched” his own brands. (/d. at 2). He therefore has ample
“experience ... in a field closely related to the area of [his] proposed testimony.”

The Court also rejects Defendants’ second two arguments — that Matlins relied only on
easily understood sources and did not perform any expert analysis — largely for the same
reasons that it rejected Defendants’ similar argument with regard to the Mulhern Report. While
a juror may be able to understand each individual source that Matlins cites, Matlins “synthesizes
this material and pulls together common themes in reaching his conclusions.” Linde v. Arab
Bank, PLC, 922 F.Supp.2d 316, 332 (E.D.N.Y. 2013) (allowing expert to testify even though
“his research was conducted solely on the Internet”); see Broadspring, Inc. v. Congoo, LLC, No.

13-CV-1866 (IMF), 2014 WL 4100615, at *16 (S.D.N.Y. Aug. 20, 2014) (allowing an expert to

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testify who had “relied on his specialized knowledge in the field of information security to
synthesize information from his diverse sources and to form an opinion”), cf Marvel Characters,
Inc. v. Kirby, 726 F.3d 119, 135-36 (2d Cir. 2013) (noting that a historian would be permitted to
“helpfully synthesize dense or voluminous historical texts” or “offer background knowledge or
context that illuminates or places in perspective past events”). Similarly, the Court rejects the
notion that Matlins did not offer any expert analysis. As explained with regard to the Mulhern
Report, that an analysis may be qualitative does not mean that it is unreliable for the purposes of
Daubert. See also Alfa Corp. v. OAO Alfa Bank, 475 F Supp.2d 357, 366 (S.D.N.¥ 2007)
(admitting testimony based on an expert’s experience in the industry, internet research, and the
parties’ annual reports in part because the expert was “not offering testimony, such as a damages
calculation, that would require a comprehensive market survey or other quantitative data”).
Unlike Defendants’ first two objections, their last objection does have merit. Although
Louis Vuitton is correct that expert testimony is generally “not objectionable on the grounds that
it embraces an ultimate issue in the case,” 29 Charles A. Wright & Arthur R. Miller, Federal
Practice & Procedure, § 6284 (1997), an expert may neither “be presented to the jury solely for
the purpose of constructing a factual narrative based upon record evidence,” Jn re Fosamax
Products Liab. Litig., 645 F.Supp.2d 164, 192 (S.D.N.Y. 2009), nor “attributfe] subjective
motivations to the parties,” Aventis Envtl. Sci. USA LP v. Scotts Co., 383 F.Supp.2d 488, 516
(S.D.N.Y. 2005). Parts of Matlins’s report do both. For example, Matlins gives a long overview
of Sunny’s business model and history (Matlins Report at 25-28) that does little more than
summarize evidence in the record in order to construct a narrative. Further, at several points
Mantis attributes the intent to copy Louis Vuitton to Sunny. For example, he states “[g]iven the

power of Louis Vuitton and its trademarks, [Sunny’s] efforts seem to have been done

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intentionally to mislead and confuse consumers.” (/d. at 29; see also, e.g., id. at 30 (stating that
Sunny was engaged in a “clear attempt at exploiting consumer awareness of Louis Vuitton”), 34
(stating that Sunny employed “a deliberate strategy” to “piggy-back” on Louis Vuitton’s
goodwill)). It is well established, however, that “[d]etermining what motivated a particular
person or entity is generally not an appropriate subject matter for expert testimony.” R.F.ALA.S.,
Ine. v. So, 748 F.Supp.2d 244, 268 (S.D.N.Y. 2010). Accordingly, while Matlins may properly
explain why Sunny’s actions would be consistent with intentional copying or why such copying
would be profitable (if that is indeed the case), he may not testify that Sunny actually employed
such a strategy. Further, any testimony that simply regurgitates evidence already in the record in
narrative form (such as Sunny’s and Louis Vuitton’s respective histories) is similarly excluded.

3. Motion to Exclude Proposed Experts George Mantis and Gerald Ford

Defendants also seeks to exclude Plaintiff's proposed Survey Experts, arguing that: (1)
neither survey examined the proper universe; (2) the sample sizes were too small; (3) allowing
the subjects to view the survey stimuli while responding to questions was inappropriate; (4) the
surveys did not replicate real-world conditions; (5) the controls were inadequate; (6) Ford’s
controls were not visible; and (7) Ford’s survey involved only two products out of 400.
Defendants’ specific objections to the Ford survey are easily dealt with. Defendants claim
(without any citation to the record) that, despite Ford’s statement under penalty of perjury that
the images in his report accurately represent the cells as displayed in the survey, “[t]he truth is
that both of the control cells... were significantly smaller than the test cells.” (Mem. Law
Supp. Defs. Sunny Merchandise Corp. & Chin Zong Tsai’s Mot. To Exclude Reports, Opinions,
& Testimony Pl.’s Experts George Mantis & Dr. Gerald Ford (“Defs.’ Ford/Mantis Mem.”)

(Docket No. 107) 9). The main evidence that Defendants’ present that the control in Ford’s

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survey was not visible was that one person (out of 411) stated that he could not see it.

(Lauridsen Ford/Mantis Decl., Ex. 2 at 170:25-171:1; /@., Ex. 1 (“Ford Report”) at 2). One
comment, however, is insufficient to demonstrate that there was a problem with the control so
severe as to warrant exclusion. Further, while the some of the images of the control in the Ford
Report are small, the screen contained instructions to click to enlarge (Ford Report, App. B at
B16-29), and to stay in the study, respondents had to affirm that they could see the sunglasses
(Ford Report 11). Also, the fact that Ford’s survey tested only two products is not sufficient to
preclude his testimony. As Louis Vuitton points out in its memorandum of law, the Ford study
was designed to test the marks, not the frames, and it would have been nearly impossible to
design a study including all 400 products. (PI.’s Expert Mem. 27-28). Of course, Defendants are
welcome to argue that the fact that the study involved only two products limits the significance
of its findings, but that is exactly the type of inquiry that “may be properly explored on cross-
examination and go[es] to [the] testimony’s weight and credibility —~ not its admissibility.” Znt’l
Bus. Machs. Corp., 2013 WL 1775437, at *16.

The same is true for Defendants’ third and fourth arguments — that respondents should
not have been allowed to view the stimuli as they answered questions and that the studies did not
replicate real-world conditions. Defendants cite McCarthy for the proposition that “keeping the
stimulus in view while questioning is usually only appropriate to assess point-of-sale confusion,”
rather than post-sale confusion. (Defs.’ Ford/Mantis Mem. 5 (quoting 6 McCarthy on
Trademarks & Unfair Competition § 32:171 (4th ed.))). Even the section of McCarthy that
Defendants cite, however, states that the identified “deficiencies in the mechanics of surveys
have been criticized by the courts, leading them to give a survey little weight as evidence,” not

that courts have excluded surveys on that basis. McCarthy § 32:171 (emphasis added), see also

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POM Wonderful LLC v. Organic Juice USA, Inc., 769 F Supp.2d 188 (S.D.N.Y. 2011) (finding
that argument that survey should have used a “memory” test rather than a “reading” test went to
weight, not admissibility), Similarly, Defendants’ argument that people ordinarily cannot take as
long as they like to examine another person’s sunglasses goes to the weight of the evidence.
While someone passing by another person on the street likely would have only a few seconds to
view the sunglasses, for example, a person sitting next to another on a train who had placed his
or her sunglasses on his or her head would have much longer. Consequently, although the Court
recognizes that the failure to simulate marketplace conditions can be grounds for exclusion, see,
e.g., Medisim Ltd. v. Bestmed LLC, 861 F.Supp.2d 158, 166 (S.D.N.Y. 2012); see also Am.
Footwear Corp. v. Gen. Footwear Co. Ltd., 609 F.2d 655, 660 n.4 (2d Cir. 1979), the mere fact
that respondents could view the sunglasses for longer than they may have been able to in the
actual marketplace — particularly given the instruction to look at the sunglasses as one would if
he or she saw someone wearing them — is not such a large deviation from actual conditions as to
merit exclusion. (Ford Report 11; Lauridsen Ford/Mantis Decl., Ex. 3 (“Mantis Report”) at 6.)
Defendants’ challenge to the Survey Experts’ controls is equally unavailing. In designing
surveys to determine whether the marks LOUIS+*V and LOUIS VALENTIN are likely to be
confused with Louis Vuitton’s marks, Ford and Mantis, respectively, used the controls Henri C
and Henri Chalet. (Ford Report 3; Mantis Report 6). Defendants contend that these controls are

so different from Louis Vuitton as to be meaningless. (Defs.’ Ford/Mantis Mem. 7-8).!° They

 

10 Defendants also contend that a “larger number of the responses for the Henri C control
cells indicate that many respondents believed that the glasses were put out by Henrik Lundqvist,
a New York Rangers hockey player.” (Defs. Ford/Mantis Mem. 8). This argument borders on
the absurd. As Defendants admit, the on/y evidence supporting this “assumption” is that “many
respondents removed the space between Henri and C in the control cell responses,” or “wrote
various spellings of Henrik.” (Defs. Ford/Mantis Mem. 8 n.3). Not one respondent mentioned
either Henrik Lundqvist or the New York Rangers.

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argue, for example, that Mantis should have used two French first names — and claim that he
admitted as much during his deposition. (Defs. Mem. 8). But Mantis admitted no such thing.
When asked if it would have been better to use two French first names, he responded: “Not
necessarily, no.” (Lauridsen Ford/Mantis Decl., Ex. 4 at 263:22-264:2). Both Henri Chalet and
Henri C are French-sounding names similar enough to Louis Vuitton, LOUIS*V and LOUIS
VALENTIN to have some usefulness as a control, but not so similar that they are themselves
likely to be considered infringement of Louis Vuitton’s marks. There is therefore no indication
that the controls used were so inadequate as to render the surveys inadmissible at trial.

Defendants also seek to have the surveys excluded on the grounds that the number of
respondents was too small. The Mantis survey had approximately 200 respondents each for the
test and control cells (Mantis Report 4), while each cell of the Ford survey had approximately
100 respondents (Ford Report 2). Defendants cite two cases -— neither of which is from this
Circuit — questioning the significance of a survey with 110 and 231 respondents, respectively.
See AutoZone, Inc. vy. Tandy Corp., 373 F.3d 786, 799 n.2 (6th Cir. 2004); Jn re Spirits Int NV.,
2008 WL 375723, at *12 (T.T.AB, Feb. 11, 2008). (Defs.’ Ford/Mantis Mem. 4). Neither
Court, however, excluded the survey on that basis. Instead, they merely found it to be of limited
probative value. Consistent with these cases and others, the Court finds that, even if the Court
were to accept Defendants’ arguments that the sample sizes of the Ford and Mantis surveys are
small, “smail sample size goes to the weight, rather than to the reliability (and admissibility) of a
study.” U.S. Inf Sys., Ine., 313 F.Supp.2d at 232.

Lastly, the Court rejects Defendants’ argument that the Ford and Mantis surveys
examined the wrong universe. It is well established that “a flawed universe minimizes the

probative value of a survey and may lead to skewed results.” Malletier v. Dooney & Burke, 525

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F.Supp.2d 558, 630 (S.D.N.Y, 2007) (internal quotation marks omitted). Here, the universe for
both surveys consisted of individuals over the age of eighteen who were likely to purchase a pair
of nonprescription sunglasses within the next year. (Ford Report 6; Mantis Report 4).
Defendants assert that this universe was flawed because there was no guarantee that it included
anyone who would purchase either Louis Vuitton’s or Sunny’s products. (Defs. Ford/Mantis
Mem. 3-4). That concern, however, is insufficient to render the survey inadmissible. Indeed,
even one of the cases that Defendants cite, General Motors Co. v. Urban Gorilla, LLC, No. 06-
CV-133 (BS), 2010 WL 5395065 (D. Utah Dec. 27, 2010), cuts against them. In that case, the
target markets of the two relevant products were potential buyers “of a $150,000 luxury vehicle”
with “an income of about $200,000 a year” on the one hand and potential buyers of a “military-
style off road vehicle” who are “middle to lower income” on the other. /d@. at *17. While noting
that those “with opinions relevant to the litigation are those who are potential or actual
purchasers of both [products],” the Court found a survey universe of “consumer[s] who ha[d]
purchased in the last three years or plan[ned] to purchase within the next three years a new or
used four-wheel drive SUV with off-road capability” to be proper, 7d. That universe is very
similar to the ones at issue here. Defendants may well be right that the limitations of the Survey
Experts’ data about the people surveyed greatly decrease the probative value of the surveys, but
that concern is better dealt with through cross-examination, rather than exclusion. See, e.g.,
Makinen v. City of N.Y., No. 11-cv-7535, - F.Supp.3d—, 2014 WL 5036747, at * 14 (S.D.N.Y.

Sept. 30, 2014).

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Cc. Proposed Redactions

The Court turns, then, to the parties’ requests to file the moving papers, Rule 56.1
statements and exhibits in redacted form.'! Throughout the litigation, the parties filed documents
under seal. On August 25, 2014, the Court granted the parties leave to file supplemental
memoranda of law on whether the documents that the parties had designated confidential or
highly confidential should be made public. (Docket No. 97). The parties both filed
supplemental memoranda on September 17, 2014. (See, e.g., Louis Vuitton’s Supp. Redaction
Letter Mem. (“PL.’s Redaction Letter”) (Docket No. 125); Defs’ Supp. Mem. Regarding Request
to File Documents Under Seal (“Defs.’ Redaction Letter”) (Docket No. 127)). Although the
parties have since agreed to de-designate certain of their proposed redactions (Joint Letter
September 26, 2014 (Docket No. 131)), others remain. The Court will first address those
redactions covered in the supplemental memoranda, before turning to those that were neither
addressed nor de-designated.

Although the relevant documents are “judicial documents” subject to a common law and
First Amendment presumption in favor of public access, see, e.g., Lagosch v. Pyramid Co, of
Onondaga, 435 F.3d 110, 119 (2d Cir. 2006), the Court finds that all of Plaintiffs proposed
redactions in its supplemental memorandum and most of Defendants’ in its corresponding
memorandum are justified. Specifically, in its supplemental memorandum, Louis Vuitton seeks
to maintain under seal information relating to (1) its advertising expenditures and plans, (2) its
merchandising strategies, polices and sales, and (3) its enforcement policies and investigation

information. (P1.’s Redaction Letter 2-4). Defendants seek to redact (or seal) several of Sunny’s

 

‘| Regardless of which party filed a document in redacted form or under seal, the Court will
treat the party that designated the relevant information as confidential as the party requesting the
redaction.

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internal business documents, financial information about both Sunny and particular individuals,
investigative reports, and information about Sunny’s business operations.

Plaintiffs’ proposed redactions are generally limited to specific business information and
strategies, which, if revealed, “may provide valuable insights into a company’s current business
practices that a competitor would seek to exploit.” Encycl, Brown Prods., Ltd. v. Home Box
Office, Inc., 26 F.Supp.2d 606, 614 (S.D.N.Y. 1998); see also GoSMILE, Inc. v. Levine, 769
F .Supp.2d 630, 649-50 (S.D.N.Y. 2011). With a few exceptions that the Court addresses below,
Defendants’ redactions are also proper. Many of them relate to confidential business information
regarding Sunny, a closed business, which implicates legitimate privacy interests. Cf U.S. v.
Amodeo, 71 F.3d 1044, 1051 (2d Cir.1995) (“Financial records of a wholly owned business ...
and similar matters will weigh more heavily against access than conduct affecting a substantial
portion of the public”). Similarly, the information about Gene and Stanley Tsai’s personal
finances implicates their privacy interests and has “no public ramifications.” U.S. v. Strevell, No.
05-CR-477 (GLS), 2009 WL 577910, at *4 (N.D.N.Y. Mar. 4, 2009).

A few of Defendants’ proposed redactions are unwarranted. Namely, they have filed
Exhibit 1 to the Stanley Tsai Declaration (Docket No. 73) under seal, but the only confidential
information contained in that document is information about “the valuation of Sunny and the
redistribution of its shares.” (Defs.’ Redaction Letter 2). That information can be redacted, so
there is no need for the entire exhibit to remain sealed (the same is true with regard to sub-exhibit
5 to exhibit 14 of the Allan Declaration (Docket No. 124)). Further, with regard to Exhibit 2 of
the same declaration, much of the information is already contained in un-redacted form in
Defendants’ brief. As such, there is no justification for keeping the information that has already

been public under seal. See, e.g., King Pharm., Inc. v. Eon Labs, Inc., No. 04-CV—5540 (DGT),

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2010 WL 3924689, at *10 (E.D.N.Y. Sept. 18, 2010) (denying redaction request for information
that was “already public.”). For largely the same reason, there is no basis for redacting
Plaintiff's discussion in its response to Sunny’s additional facts of Sunny’s use of the LA
Dodgers logo on sunglasses: The fact that Sunny used the LA Dodgers logo and that it “ceased
sales of the product” when it learned that the logo was trademarked is already public. (PI’s
Response Dets.’ Additional Facts {[ 36).

Having addressed the proposed redactions covered in the parties’ supplemental
memoranda, the Court now turns to those redactions that were not addressed but that the Court
considers problematic. Specifically, due to Plaintiff's designation of the material as confidential,
Defendants filed under seal or in redacted form: Exhibits 5 and 7 to the Lauridsen Declaration
filed in opposition to Plaintiffs motion for summary judgment (Docket No. 91); Exhibits 1 and 2
Part 2 to the Lauridsen Declaration in support of Defendants motion to exclude Mulhern (Docket
No, 102); Exhibit 1 to the Lauridsen Declaration in Support of Defendants’ motion to exclude
Matlins (Docket No. 105); and Exhibits 1, 2, and 3 of the Lauridsen Declaration in support of
Defendant’s motion to exchide Ford and Mantis (Docket No. 108). Many of these exhibits are
the expert reports that were the subject of the Dawbert motion in this case. Exhibit 2 Part 2 to the
Lauridsen Mulhern Declaration contains invoices from Mulhern to Louis Vuitton, while Exhibit
2 of the Lauridsen Ford/Mantis Declaration contains excerpts from Ford’s deposition. All of
these are judicial documents, and the public interest in each is high. Further, no party has
provided any justification for why they should be kept confidential. Accordingly (with the
exception of the redactions that the Court approved above, Sunny’s sales figures contained in the
Mulhern Report, and any personal information about Mulhern contained in the invoices), there is

no basis for maintaining these exhibits under seal.

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CONCLUSION

For the reasons stated above, Plaintiffs motion for partial summary judgment (Docket
No. 47) is GRANTED in part and DENIED in part, while Defendants’ motion for partial
summary judgment (Docket No. 52) is GRANTED in part and DENIED in part. Plaintiff's
request to strike Defendants’ additional responsive facts (Docket No. 123) is DENIED, and all of
Defendants’ non-Daubert evidentiary objections (Docket No. 89) are OVERRULED,
Defendants’ motions to exclude the testimony and reports of Mulhern (Docket No. 99), and that
of Mantis and Ford (Docket No. 106) are DENIED, while its motion to exclude Matlins’s
testimony (Docket No. 103) is DENIED in part and GRANTED in part. Further, both parties
requests for redactions (except for those which it has agreed to de-designate) are GRANTED in
part and DENIED in part. The parties shall immediately file on ECF copies of the relevant
documents containing only the approved redactions.

The Clerk of Court is therefore directed to terminate Plaintiff's motion for partial
summary judgment (Docket No. 47), Defendants’ motion for partial summary judgment (Docket
No. 52), and Defendants’ motions to exclude the testimony and reports of Mulhern (Docket No.
99), Mantis and Ford (Docket No. 106), and Matlins (Docket No. 103).

SO ORDERED.

DATED: New York, New York
March 31, 2015

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LORETTA A. PRESKA
Chief U.S. District Judge

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